                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                             ROANOKE DIVISION

 ALFONZA HARDY GREENHILL, )
     Plaintiff             )                     Civil Action No.: 7:16cv00068
                           )
     v.                    )
                           )                          REPORT AND
                           )                     RECOMMENDATION
 HAROLD W. CLARKE, et al., )                     By: PAMELA MEADE SARGENT
     Defendants            )                     United States Magistrate Judge



        The pro se plaintiff, Alfonza Hardy Greenhill, (“Greenhill”), an inmate
 incarcerated at Red Onion State Prison, (“Red Onion”), brings this civil rights
 action pursuant to 42 U.S.C. § 1983 and the Religious Land Use and
 Institutionalized Persons Act, (“RLUIPA”), 42 U.S.C. §§ 2000cc to 2000cc-5,
 against the defendants, Harold W. Clarke, Director of the Virginia Department of
 Corrections, (“VDOC”), A. David Robinson, Chief of Corrections Operations for
 the VDOC, and Earl Barksdale, Warden of Red Onion. Greenhill asserts that
 restrictive living conditions in long-term administrative segregation interfere with
 his ability to exercise his Muslim religious beliefs related to his participation in the
 weekly service know as Jum’ah, as well as wearing a beard and maintaining a
 religious diet.


        Greenhill has filed two motions, (Docket Item Nos. 4, 35) (“Motions”),
 seeking, among other relief, preliminary injunctive relief ordering prison officials
 to provide him with a television for viewing a weekly broadcast of the Jum’ah
 service. This court originally denied Greenhill’s request for preliminary injunctive
 relief, and Greenhill noted an interlocutory appeal. The United States Court of

                                           -1-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 1 of 11 Pageid#: 417
 Appeals for the Fourth Circuit remanded the case for further proceedings on
 Greenhill’s request for preliminary injunctive relief. On remand, Greenhill’s
 request for preliminary injunctive relief is before the undersigned magistrate judge
 on referral pursuant to 28 U.S.C. § 636(b)(1)(B) for a report setting forth
 appropriate findings of fact and conclusions of law and recommended disposition.


                                       I. Facts


       In his sworn Complaint, (Docket Item No. 1), Greenhill claims that he has
 been a practicing Sufi Muslim since 2000. He claims that his religion requires
 “strict adherence, outwardly and inwardly, to the Sunnah (ways, habits, traditions)
 of the Prophet Muhammad…, his Sahabah (companions) and Sufi Masters.” He
 states that his religion obligates him to be present bodily or visually at the weekly
 Friday Islamic gathering known as Jum’ah. He states that Jum’ah is a central tenet
 of Islam and that “any adult Muslim male who is absent therefrom incurs a terrible
 sin and is deprived of the opportunity to acquire many blessings.”


    In his Complaint, Greenhill concedes that he is housed in the S security level or
 segregation housing at Red Onion.        He states that, as an inmate housed in
 segregation, he is confined to his cell for 23 hours a day and is only released from
 his cell to be escorted in handcuffs and leg shackles to an outside recreation cage,
 shower or medical department. As a segregation inmate, Greenhill is not allowed
 to attend weekly Jum’ah services. He states that Red Onion broadcasts a videotape
 of Jum’ah services every week for inmates in general population and segregation
 housing. According to Greenhill, the only segregation inmates who may view this
 service are those who can afford to purchase their own television from the
 commissary. Greenhill states that one of these televisions costs $212 and, as an

                                          -2-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 2 of 11 Pageid#: 418
 indigent prisoner, he cannot afford to purchase a television. Therefore, he argues,
 he is precluded from visually accessing and participating in the weekly Jum’ah
 services. He claims that this preclusion places a substantial burden on his free
 exercise of his religious beliefs as a Sufi Muslim.


    Greenhill further alleges that, because he refuses for religious reasons to
 comply with the VDOC’s policy limiting beards to a quarter of an inch in length,
 he is not eligible to obtain a prison job, which would allow him to earn money to
 buy a personal television from the commissary. Greenhill states that there are no
 communal televisions in Red Onion’s segregation pods, although there are cable
 and electrical outlets on the walls where there used to be communal televisions.


       Greenhill has provided the court with a copy of VDOC Operating Procedure,
 (“OP”), 841.3, Offender Religious Programs, effective July 1, 2015. (Docket Item
 No. 4-3.) This OP establishes “protocols to provide reasonable opportunities for
 offenders incarcerated in Department of Corrections facilities to voluntarily pursue
 religious beliefs and practices subject to concerns regarding facility security,
 safety, order, space and resources.” This OP does not, however, address how
 inmates held in segregation can participate in religious services.


       In response to the Motions, the defendants have filed the Affidavit of A.
 Duncan, the Unit Manager of C-Building at Red Onion. (Docket Item No. 40-1.)
 According to Duncan, Greenhill is serving a 15-year, 40-day sentence. Since
 Greenhill’s arrival at Red Onion in 2013, he has received 10 institutional
 disciplinary convictions. Duncan states that segregation at Red Onion is “utilized
 for the protective custody and/or custodial management of offenders and is not
 punitive.” She stated that VDOC OP 861.3, Special Housing, which she attached to

                                           -3-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 3 of 11 Pageid#: 419
 her Affidavit, sets forth the conditions of segregation. Duncan stated that offenders
 assigned to a segregated housing assignment are limited in their out-of-cell
 activities, and they may not attend group religious services. According to Duncan,
 these inmates may practice their faith in their cells and may request that the
 Chaplain visit their cells for private worship and counsel.


       Duncan states that Greenhill has been in segregation at Red Onion since
 September 4, 2015, after receiving institutional disciplinary charges. Operating
 Procedure 830.A establishes procedures for the Segregation Reduction Step-Down
 Program, (“Step-Down Program”), at Red Onion. According to Duncan, the Step-
 Down Program is an “incentive-based housing program which creates a pathway
 for offenders to step-down to lower security levels in a manner that maintains
 public, staff and offender safety.” Duncan states that the Step-Down Program is “a
 cognitive program which includes pro-social goals and requires the offender to
 complete 7 workbooks in the Challenge Series.” Duncan states that Greenhill
 refuses to participate in this Step-Down Program, and, therefore, he remains
 confined in a Special Management segregation assignment.


       Duncan states that there are no communal televisions in the housing pods of
 the C-Building at Red Onion. She states that televisions are considered a privilege
 for offenders. According to Duncan, if Greenhill participated and met certain goals
 in the Challenge Series and remained infraction free, he could be considered for a
 pod job which would enable him to earn money to purchase a personal television.




                                          -4-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 4 of 11 Pageid#: 420
                                      II. Analysis


       Greenhill seeks preliminary injunctive relief requiring the defendants to
 provide him with “the means,” i.e. a television, to visually observe Jum’ah services
 in his cell in segregation housing. “The standard for granting either a [temporary
 restraining order] or a preliminary injunction is the same.” Moore v. Kempthorne,
 464 F. Supp. 2d 519, 525 (E.D. Va. 2006) (quoting U.S. ex rel. $12,642.00 U.S.
 Currency v. Commonwealth of Va., 2003 WL 23710710, at *1 (E.D. Va. 2003)
 (not reported) (citing Rum Creek Coal Sales, Inc. v. Caperton, 926 F.2d 353 (4th
 Cir. 1991); Ry. Labor Execs. v. Wheeling Acquisition Corp., 736 F. Supp. 1397
 (E.D. Va. 1990)).    A plaintiff seeking preliminary injunctive relief is required to
 demonstrate that he is likely to succeed on the merits of his claim, that he is likely
 to suffer irreparable injury in the absence of an injunction, that the balance of
 equities tips in his favor and that an injunction is in the public interest. See Winter
 v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). A preliminary injunction is
 an extraordinary remedy, never awarded as of right. See Winter, 555 U.S. at 24.
 The plaintiff bears the burden of establishing that the court should grant a
 preliminary injunction or temporary restraining order. See Manning v. Hunt, 119
 F.3d 254, 263 (4th Cir. 1997) (citing Hughes Network Sys., Inc. v. InterDigital
 Commc’ns Corp., 17 F.3d 691, 693 (4th Cir. 1994)).


       Greenhill argues that the defendants’ failure to provide a television for his
 cell violates his rights under the First Amendment of the U.S. Constitution to
 freely exercise his religion. Courts have held that, although inmates lose some
 constitutional protections upon incarceration, they retain the right to freely worship
 while in prison. See McManus v. Bass, 2006 WL 753017, at *4 (E.D. Va. Mar. 22,
 2006) (citing O’Lone v. Estate of Shabazz, 482 U.S. 342, 348 (1987); Bell v.

                                           -5-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 5 of 11 Pageid#: 421
 Wolfish, 441 U.S. 520, 545 (1979)).        The Free Exercise Clause of the First
 Amendment provides that “Congress shall make no law respecting an
 establishment of religion, or prohibiting the free exercise thereof. …” U.S. CONST.
 amend. 1. The Free Exercise Clause extends to prison inmates. See O’Lone, 482
 U.S. at 348; Morrison v. Garraghty, 239 F.3d 648, 656 (4th Cir. 2001). However,
 an inmate’s religious rights must be evaluated within the context of his
 incarceration. The Supreme Court has long cautioned that “courts are ill equipped
 to deal with the increasingly urgent problems of prison administration[,]”
 Procunier v. Martinez, 416 U.S. 396, 405 (1974) (overruled on other grounds in
 Thornburgh v. Abbott, 490 U.S. 401 (1989)), and, therefore, the court “must accord
 deference to the officials who run a prison, overseeing and coordinating its many
 aspects, including security, discipline, and general administration[,]” Lovelace v.
 Lee, 472 F.3d 174, 199 (4th Cir. 2006).


       This deference is achieved by a rational basis test, under which the court
 considers four factors to determine if prison regulations are reasonably related to
 legitimate penological interests: (1) whether there is a “valid, rational connection”
 between the prison regulation or action and the interest asserted by the
 government, or whether the interest is “so remote as to render the policy arbitrary
 or irrational;” (2) whether there are alternative means of exercising the asserted
 constitutional right that remain open to inmates; (3) what impact the desired
 accommodation would have on security staff, inmates and the allocation of limited
 prison resources; and (4) whether there exist any “obvious, easy alternatives” to the
 challenged regulation or action, which may suggest that it is “not reasonable, but is
 [instead] an exaggerated response to prison concerns.” Lovelace, 472 F.3d at 200
 (quoting Turner v. Safley, 482 U.S. 78, 89-92 (1987)). When applying these
 factors, the court must “respect the determinations of prison officials.” United

                                           -6-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 6 of 11 Pageid#: 422
 States v. Stotts, 925 F.2d 83, 86 (4th Cir. 1991). The burden of proof under the
 Turner analysis is on the prisoner to disprove the validity of the prison regulation
 at issue. See Overton v. Bazzetta, 539 U.S. 126, 132 (2003).


       In order to establish a right under the Free Exercise Clause, Greenhill must
 make two threshold showings before turning to the rational basis test. First, he
 must show that he sincerely holds his religious beliefs. See Wisconsin v. Yoder,
 406 U.S. 205, 214-16 (1972). Second, Greenhill must show that his claims are
 rooted in religious belief and are not “purely secular.” Yoder, 406 U.S. at 215. If
 Greenhill can make these two threshold showings, he then must show that the free
 exercise of his religion is substantially burdened by the government policy or
 action at issue. See Sherbert v. Verner, 374 U.S. 398 (1963)


       RLUIPA requires a “more searching standard of review … than the standard
 used in parallel constitutional claims: strict scrutiny instead of reasonableness.”
 Lovelace, 472 F.3d at 186 (internal quotations omitted). Section 3 of RLUIPA
 provides that “[n]o government shall impose a substantial burden on the religious
 exercise of a person residing in or confined to an institution … unless the
 government demonstrates that imposition of the burden … (1) is in furtherance of a
 compelling governmental interest; and (2) is the least restrictive means of
 furthering that compelling governmental interest.” 42 U.S.C.A. § 2000cc-1(a)
 (West 2012). The term “government” as used in § 2000cc-1 is defined broadly to
 include: “(i) a State, county, municipality, or other governmental entity created
 under the authority of a State; (ii) any branch, department, agency, instrumentality,
 or official of an entity listed in clause (i); and (iii) any other person acting under
 color of State law[.]” 42 U.S.C.A. § 2000cc-5(4)(A) (West 2012). RLUIPA
 defines religious exercise as “any exercise of religion, whether or not compelled

                                          -7-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 7 of 11 Pageid#: 423
 by, or central to, a system of religious belief.” 42 U.S.C.A. § 2000cc-5(7)(A)
 (West 2012).     “If a plaintiff produces prima facie evidence” of a RLUIPA
 violation, “the government shall bear the burden of persuasion on any element of
 the claim, except that the plaintiff shall bear the burden of persuasion on whether
 the law (including a regulation) or government practice that is challenged by the
 claim substantially burdens the plaintiff’s exercise of religion.” 42 U.S.C.A. §
 2000cc-2(b) (West 2012).


         As under the First Amendment, although prison officials may not question
 the truth of an inmate’s belief, an inmate must demonstrate that the belief is
 sincerely held in order to establish a protected right under RLUIPA.              See
 McManus, 2006 WL 753017, at *5 (citing Cutter v. Wilkinson, 544 U.S. 709, 725
 n.13 (2005)). Under both the First Amendment and RLUIPA, an inmate also must
 show that his right to the free exercise of his religion has been “substantially
 burdened.” McManus, 2006 WL 753017, at *5 (quoting Hernandez v. Comm’r of
 Internal Revenue, 490 U.S. 680, 699 (1989)); see also 42 U.S.C. § 2000cc-1(a).
 RLUIPA does not define “substantial burden.” However, the Fourth Circuit has
 held that a “substantial burden” on religious exercise occurs when a state or local
 government, through act or omission, puts substantial pressure on an adherent to
 modify his behavior and to violate his beliefs or one that forces a person to choose
 between following the precepts of his religion and forfeiting governmental benefits
 on the one hand, and abandoning one of the precepts of his religion on the other
 hand.    See Lovelace, 472 F.3d at 187 (internal quotation omitted); see also
 Sherbert, 374 U.S. at 404. Furthermore, this court previously has held that “[n]o
 substantial burden occurs if the government action merely makes the ‘religious
 exercise more expensive or difficult’ or inconvenient, but does not pressure the
 adherent to violate his or her religious beliefs or abandon one of the precepts of his

                                          -8-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 8 of 11 Pageid#: 424
 or her religion.” Marron v. Miller, 2014 WL 2879745, at *2 (W.D. Va. June 24,
 2014) (citing Smith v. Allen, 502 F.3d 1255, 1278 (11th Cir. 2007); Living Water
 Church of God v. Charter Tp. of Meridian, 258 F. App’x 729, 739 (6th Cir. 2007)).


       The defendants do not contest Greenhill’s assertion that he is a practicing
 Sufi Muslim who must observe Jum’ah every Friday, and there is nothing in the
 record before the court to suggest that Greenhill does not sincerely hold this
 religious belief. To be entitled to preliminary injunctive relief, however, Greenhill
 also must show that he is likely to prevail on his claim that the free exercise of his
 religious beliefs has been substantially burdened. Greenhill seeks preliminary
 injunctive relief ordering the defendants to provide him with “the means to visually
 access Jum’ah.” It is important to note that Greenhill conceded in his Complaint
 that Red Onion broadcasts a video recording of Jum’ah services every Friday. He
 also conceded that segregation prisoners who own a television were able to view
 the broadcast of Jum’ah services. Greenhill also conceded that Red Onion
 prisoners may purchase a personal television from the prison commissary for use
 in their cells. Nonetheless, Greenhill asserted that, because he is indigent and
 cannot afford to purchase a television, the defendants have denied him the right to
 visually access Jum’ah. Thus, the facts alleged by Greenhill, himself, show that the
 government action complained of here merely makes Greenhill’s exercise of his
 religious beliefs more expensive or difficult; the action does not pressure Greenhill
 to violate his religious beliefs or abandon one of the precepts of his religion.


       I further note that the defendants also have produced evidence that it is
 Greenhill’s own action in refusing to participate in the Step-Down Program that
 prevents him from being transferred from segregation to a housing unit where he
 could receive a prison job and earn money to purchase a television. Also, the

                                           -9-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 9 of 11 Pageid#: 425
  defendants have produced evidence that Greenhill may freely practice his religion
  in his segregation cell in other ways, including requesting a visit from a chaplain to
  participate in private worship.


        Based on the above reasons, I find that it is unlikely that Greenhill can
  demonstrate that the defendants’ actions have placed a substantial burden on the
  free exercise of his religious beliefs. That being the case, I also find that he has
  failed to show that it is likely he will prevail on the merits of either his First
  Amendment claim or his RLUIPA claim. Therefore, I will recommend that the
  court deny Greenhill’s request for preliminary injunctive relief.


                         PROPOSED FINDINGS OF FACTS AND
                            CONCLUSIONS OF LAW

        As supplemented by the above summary and analysis, the undersigned now
  submits the following formal findings, conclusions and recommendations:


        1.     It is unlikely that Greenhill can demonstrate that the defendants’
               actions placed a substantial burden on his right to freely exercise his
               religious beliefs;
        2.     Therefore, Greenhill has failed to show that he will likely prevail on
               his First Amendment claim or his RLUIPA claim; and
        3.     The court should deny Greenhill’s request for entry of preliminary
               injunctive relief.

                         RECOMMENDED DISPOSITION

        Based on the above-stated reasons, I recommend the court deny the Motions
  requesting preliminary injunctive relief.



                                              -10-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 10 of 11 Pageid#: 426
                                   Notice to Parties

        Notice is hereby given to the parties of the provisions of 28 U.S.C. §
  636(b)(1)(C):

        Within fourteen days after being served with a copy [of this Report
        and Recommendation], any party may serve and file written
        objections to such proposed findings and recommendations as
        provided by rules of court. A judge of the court shall make a de novo
        determination of those portions of the report or specified proposed
        findings or recommendations to which objection is made. A judge of
        the court may accept, reject, or modify, in whole or in part, the
        findings or recommendations made by the magistrate judge. The
        judge may also receive further evidence or recommit the matter to the
        magistrate judge with instructions.

        Failure to file written objection to these proposed findings and
  recommendations within 14 days could waive appellate review. At the conclusion
  of the 14-day period, the Clerk is directed to transmit the record in this matter to
  the Honorable James P. Jones, United States District Judge.


        The Clerk is directed to send copies of this Report and Recommendation to
  all counsel of record and unrepresented parties.


        DATED: March 20, 2017.


                                         /s/Pamela Meade Sargent
                                          UNITED STATES MAGISTRATE JUDGE




                                          -11-

Case 7:16-cv-00068-JPJ-RSB Document 41 Filed 03/20/17 Page 11 of 11 Pageid#: 427
